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9
     (erroneously sued as Xiamen 35.com Internet Technology Co., Ltd.)
10

11                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13
     FACEBOOK, INC., et al.,                         Case No. 3:19-cv-07071-SI
14
                   Plaintiffs,
15                                                   DECLARATION OF KARL S.
            v.                                       KRONENBERGER IN SUPPORT OF
16                                                   DEFENDANT XIAMEN 35.COM
17   ONLINENIC INC., et al.,                         TECHNOLOGY CO., LTD.’S
                                                     OPPOSITION TO PLAINTIFFS’
18                 Defendants.                       INDIVIDUAL STATEMENT SEEKING
                                                     LEAVE TO FILE A REGULARLY
19                                                   NOTICED MOTION TO COMPEL ON
                                                     DISCOVERY ISSUES [D.E. 237]
20
21                                                   No hearing set

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     Case No. 3:19-cv-07071-SI                         KRONENBERGER DECL. ISO DEF’S OPP
                                                       TO PLS’ STATEMENT FOR LEAVE
      Case 3:19-cv-07071-SI       Document 239-1       Filed 05/26/22    Page 2 of 23



1           I, Karl S. Kronenberger, do hereby declare:

2           1.     I am an attorney admitted to practice law in the State of California and

3    before this Court. I am a partner at the law firm of Kronenberger Rosenfeld, LLP, counsel

4    of record for Defendant Xiamen 35.com Technology Co., Ltd. (“35.CN”). Unless otherwise

5    stated, I have personal knowledge of the facts set forth in this Declaration.

6           2.     35.CN has been actively working with Plaintiffs on multiple fronts, including

7    responding to hundreds of discovery requests seeking Chinese language documents.

8           3.     In particular, given issues with new Chinese data security and privacy laws
9    (above the requirements under the Hague Convention), on March 20, 2022 my office sent

10   Plaintiffs’ counsel a detailed letter outlining 35.CN’s Chinese legal obligations and stating

11   a further case management conference would be helpful following the parties’ March 10,

12   2022 Rule 26(f) conference. The letter further explained that 35.CN had sought guidance

13   from local Chinese counsel and was waiting a response. A true and correct copy of the

14   foregoing letter is attached as Exhibit A.

15          4.     On April 18, 2022, I again asked whether Plaintiffs would agree to a further

16   case management conference. In related emails, I also outlined 35.CN’s intent to file a

17   motion for a protective order concerning hundreds of Plaintiffs’ discovery requests. On

18   Saturday, May 21, 2022, Plaintiffs’ counsel emailed me about the draft stipulation seeking

19   leave to file a fully noticed motion to compel, despite 35.CN’s statements that it may need

20   to file its own motion for a protective order in the future. I responded the same day
21   (Saturday) that we were reviewing the draft stipulation as well as additional documents to

22   try to narrow the dispute. A true and correct copy of this correspondence is attached as

23   Exhibit B.

24          5.     Throughout this time, 35.CN has been working with Chinese counsel,

25   started translating and reviewing documents, served three document productions

26   (including records in Chinese) as part of its rolling document productions, and requested

27   a written opinion from the legal regulatory agency in China (the Cyberspace

28   Administration of China aka Office of the Central Cyberspace Affairs Commission). 35.CN
     Case No. 3:19-cv-07071-SI                            KRONENBERGER DECL. ISO DEF’S OPP
                                                  1       TO PLS’ STATEMENT FOR LEAVE
      Case 3:19-cv-07071-SI       Document 239-1       Filed 05/26/22    Page 3 of 23



1    has further stated that it was still reviewing additional Chinese-language documents,

2    would continue to make further document productions, and would send amended written

3    discovery responses after the final production.

4           6.     Notably, while Plaintiffs have granted in part and denied in part 35.CN’s

5    requests for discovery extensions, 35.CN has granted multiple discovery extensions

6    requested by Plaintiffs in full, with the deadline for Plaintiffs’ responses to discovery now

7    due on June 7, 2022.

8           I declare under penalty of perjury under the laws of the United States of America
9    that the foregoing is true and correct and that this Declaration was executed on May 26,

10   2022, in San Francisco, California.

11
                                                               s/Karl S. Kronenberger
12                                                              Karl S. Kronenberger
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     Case No. 3:19-cv-07071-SI                            KRONENBERGER DECL. ISO DEF’S OPP
                                                  2       TO PLS’ STATEMENT FOR LEAVE
Case 3:19-cv-07071-SI   Document 239-1   Filed 05/26/22   Page 4 of 23




                        Exhibit A
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March 30, 2022


TUCKER ELLIS LLP
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VIA EMAIL

RE:     Meta Platforms Inc., et al., v. OnlineNIC, et al., Case No. 3:19-cv-07071-SI;
        Meet and Confer Regarding Chinese Government Approval for Discovery

Dear Counsel:

        As you know, our firm is legal counsel to Xiamen 35.com Technology Co., Ltd. (“35.CN”)
in the above-referenced action. In anticipation of 35.CN’s deadline to respond to written requests
for production of documents and our call scheduled for March 30, 2022, this letter follows up on
our Rule 26(f) conference and outlines new information impacting 35.CN’s discovery timeline.

         Specifically, we are working with our client on producing documents, which are located in
their office in the People’s Republic of China (“PRC” or “China”). As you may know, Chinese law
(1) requires that the parties follow the international Convention on the Taking of Evidence Abroad
in Civil or Commercial Matters (“Hague Convention”),1 and (2) prohibits the cross-border transfer
of data from China to countries such as the United States for litigation purposes without the prior
authority of the Chinese government. To that end, our client and our firm are working with
independent Chinese counsel to clarify the requisite steps and obtain the necessary approvals
from the relevant Chinese agency.

        As outlined below, we would like to discuss these issues with you. It may be helpful to
stipulate to a further Case Management Conference pursuant to Federal Rule of Civil Procedure
16 and Local Rule 16-10(c) on these issues and to obtain expert affidavits if necessary.

      Importantly, nothing in this letter should be construed as an absolute refusal to produce
documents in this litigation. Instead, this letter outlines procedures to use to get required
approvals prior to producing documents located in China in this litigation.



//

1 Convention on the Taking of Evidence Abroad in Civil or Commercial Matters, available at

https://assets.hcch.net/docs/dfed98c0-6749-42d2-a9be-3d41597734f1.pdf.
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A.      Background

        1. The Parties

        As background, 35.CN is a public company in Xiamen, Fujian Province in China that is
registered in China and organized under the laws of China. Specifically, 35.CN was established
in 2004 and provides cloud computing, application software, email hosting, and business
homepage building services as well as domain name and customer relationship management
system services. As just one part of its business, 35.CN is an ICANN-accredited registrar and
assists customers with registering domain names; customers use 35.CN’s system and services
in Chinese and make payment with Chinese currency.

       Plaintiffs are billion-dollar social media platforms under the “Meta” brand that are, by
Meta’s admission, banned in China. [D.E. 189-1, ¶ 26 (“Both the Facebook and Instagram apps
are banned in China”).] In fact, Chinese authorities have blocked Facebook and others since riots
arose in 2009 in the Western region of Xinjaing, China,2 despite Facebook’s attempts to set up a
subsidiary in Hangzhou and Mark Zuckerberg’s repeated visits to China.3

        In our case, while the Court denied 35.CN’s motion to dismiss on personal jurisdiction
grounds, it did not foreclose a later determination that there is no personal jurisdiction over 35.CN.
35.CN’s motion also outlined how there is no alter ego liability for conduct by OnlineNIC or ID
Shield, including because there is no fraud or injustice to support the Court disregarding the
separate corporate forms.

        2. Chinese Government Interest in Plaintiffs’ Allegations

       We have recently learned that the Chinese government has made multiple verbal inquiries
to 35.CN regarding this case, indicating its interest in this case generally and carefully reminding
35.CN to comply with every law and policy in China.

        As background, the Cyberspace Administration of China (also referred to as the Office of
the Central Cyberspace Affairs Commission) (“CAC”) oversees and regulates cyberspace security
and internet content in China.4 For example, in a widely publicized scenario, the CAC informed
the ride-hailing giant Didi Global Inc. that it fell short of preventing security and data disclosures,
indicating the CAC’s intent to strictly regulate against cross-border data transfers.5

        The CAC has discussed this litigation with 35.CN and provided oral feedback that as a
public company, 35.CN has already published all of the information that they are requested to
make public.6 In other words, the CAC reminded 35.CN that all other information and documents

2 Facebook/Instagram/Meta have come under whistleblower and other scrutiny regarding harmful real-world

consequences, such as the January 6th Capitol riots, Myanmar genocide, and other violence, stemming from the
platforms.
3Zucchi, Kristina, Why Facebook is Banned in China & How to Access it (Dec. 31, 2021), available at

https://www.investopedia.com/articles/investing/042915/why-facebook-banned-china.asp (citing sources).
4 Guo, Bingna & Li, Bob, China Issued New Measures for Cybersecurity Review in 2022 (Feb. 8, 2022), available at

https://www.whitecase.com/publications/alert/china-issued-new-measures-cybersecurity-review-2022.
5 Didi Plunges 44% After Halting Planned Hong Kong Stock Listing (Mar. 10, 2022), available at

https://www.bloomberg.com/news/articles/2022-03-11/didi-said-to-halt-hong-kong-listing-plan-on-cybersecurity-probe.
6 Plaintiffs should have equal access to this publicly accessible information.
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not required by law to be made public as a public company should not be published or disclosed
in a foreign U.S. civil litigation proceeding. Further, there was indication that, under laws in China,
it is perplexing how a U.S. court could attempt to exercise its jurisdiction over 35.CN in this case.
Our client is determining whether CAC would agree to issue something in writing on this matter.

        35.CN is not solely relying on in-house counsel or employee recommendations but has
been in discussion with an established and relatively large law firm in China as well as Chinese
counsel that assists with translation and other legal advice. While we are providing notice of these
issues in this letter, our client reserves the right to update this analysis with Chinese counsel.

         3. Discovery Requests

        On February 16, 2022, Plaintiffs served numerous written discovery requests on 35.CN
(118 requests for admission, 18 interrogatories, and 147 requests for production of documents),
which largely seek information on their “alter ego” theory. These requests seek information
regarding 35.CN’s company background and ownership (RFP 1-16), Chinese individuals’
interests related to Defendants (RFP 24-32), 35.CN’s contracts, assets, and intellectual property
(RFP 17-23, 33-39), 35.CN’s relationships, including with other Defendants (RFP 40-68), 35.CN’s
communications, ICANN agreements, and lawsuits (RFP 69-81), records of fund transfers, loans,
and investments (RFP 87-144), and records related to communications about Plaintiffs or the
lawsuit (RFP 82-86), payments to OnlineNIC’s counsel (RFP 145), and documents supporting
responses to the interrogatories and requests for admission (RFP 146-147). The undertone, and
even express language of the discovery requests, is argumentative and accusatory against
35.CN.

       Notably, Plaintiffs’ prior discovery requests to the other Defendants, requesting a
“representative sample” of documents to demonstrate all business activities engaged in between
those Defendants and 35.CN, were found to be “overbroad and vague” by the Court. [D.E. 81.]
Now, however, Plaintiffs seek essentially the same discovery over hundreds of requests to 35.CN.

         Plaintiffs also seek information and materials that Plaintiffs could equally obtain through
public records; as a public company, 35.CN provides extensive information through public filings,
such as annual financial reports (which typically contain background on corporate structure,
financials, and more information than equivalent securities filings in the U.S.). However, although
Plaintiffs could obtain public information with no government consequence, 35.CN’s provision of
the same information could subject it to penalties for cross-border transfer, as outlined below.

B.       Discovery to 35.CN Should Proceed Under the Hague Convention

        There are different methods to obtain discovery across international borders.7 Pursuant to
the process under the Hague Convention, Plaintiffs must obtain permission from competent
authorities in China prior to conducting discovery from 35.CN in China for use in a U.S. civil
proceeding. See Sun Grp. U.S.A. Harmony City, Inc. v. CRRC Corp. Ltd., No. 17-CV-02191-SK,
2019 WL 6134958, at *1–*2, *6 (N.D. Cal. Nov. 19, 2019) (finding the plaintiff must proceed
through the Hague Convention procedures to obtain documents in China); Sun Grp. U.S.A.

77 Canty, Aimee, Getting Discovery Across Borders (Mar. 23, 2020), available at

https://www.americanbar.org/groups/litigation/committees/pretrial-practice-discovery/practice/2020/getting-discovery-
across-borders/.
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Harmony City, Inc. v. CRRC Corp. Ltd., No. 17-CV-02191-SK, D.E. 132-13, ¶8 (N.D. Cal. Aug.
23, 2019) (affidavit of legal expert); St. Jude Med. S.C., Inc. v. Janssen-Counotte, 104 F. Supp.
3d 1150, 1166 (D. Or. 2015) (“Courts are reluctant to require ‘[g]eneralized searches for
information’ whose disclosure may be prohibited under foreign law.”) (quoting Richmark Corp. v.
Timber Falling Consultants, 959 F.2d 1468, 1475 (9th Cir. 1992)); Rutter Group Prac. Guide Fed.
Civ. Pro. Before Trial, Ch. 11(III)-H (International Discovery) (“Refusing to order disclosure of
materials outside the U.S. seems consistent with the Supreme Court's note that ‘comity and parity
concerns may be important as touchstones for a district court's exercise of discretion in particular
cases.’”) (citing Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 255, 261 (2004)); Tiffany
(NJ) LLC v. Qi Andrew, 278 F.R.D. 143, 160–61 (S.D.N.Y. July 25, 2011) (ordering discovery
through the Hague Convention); Salt River Project v. Trench France SAS, 303 F. Supp. 1004,
1010 (D. Az. March 19, 2018). Proceeding under the Hague Convention ensures that certain
standards are met, such as translation and sending a request to the Chinese Ministry of Justice
and obtaining review by the People’s Republic of China Supreme Court, which may reject the
request if it violates state sovereignty, domestic laws, state security, or state public interest.8

         Likewise, Chinese law requires that parties obtain government approval prior to
conducting discovery in China, and confirms that the Hague Convention must be followed. For
example, pursuant to Article 283 (previous Article 277) of the Chinese Civil Procedure Law, 35.CN
is required to follow the Hague Convention prior to producing materials in response to Plaintiffs’
discovery requests because investigation and discovery into China’s territories must only be in
accordance with international treaties (or in the absence, diplomatic channels). Moreover, Article
4, paragraph 3 of the Criminal Assistance Law states that any foreign organization shall not
conduct discovery in China, and that organizations and individuals within the territory of China
may not provide evidence to foreign countries, “without the consent of the competent authorities
of the People's Republic of China." Chinese laws impose heavy sanctions, including both civil and
criminal penalties, for over disclosure of information. See Sher, Julie, supra at 77 (“Chinese
litigants have Chinese statutory law that prevents production of documents containing a variety
of different information, from state secrets to banking information, resulting in civil and criminal
penalties.”). For instance, where discovery was issued on local U.S. branches of a Chinese
financial institution, the court weighed consideration of prior Chinese litigants suffering heavy
sanctions for being compelled to produce certain documents. See id. (citation omitted).

       Here, Plaintiffs’ discovery requests seek broad and detailed financial and business
information from a Chinese company, despite clear Chinese prohibitions on such disclosure of
information. There are also numerous requests that seek documents and information related to
Defendants OnlineNIC and ID Shield, which could be sought from those Defendants instead of
requesting that 35.CN violate international law by producing the same materials located in China.

        Under various considerations, application of the Hague Convention is warranted in this
case. Specifically, the requested materials are not, as a whole, crucial to Plaintiffs’ litigation where
they have already obtained substantial discovery from the initial Defendants, OnlineNIC and ID
Shield, and they can obtain publicly available information; the requests are not specific to allow
procedures around the Hague Convention; the information did not originate in the U.S. (and if
there is information that originated in the U.S., it is public information equally accessible to

8 See Sher, Julie, Cross-Border E-Discovery: Production of ESI from Chinese Entities, Emory Law Scholarly

Commons 77, 82-83 (2021), available at
https://scholarlycommons.law.emory.edu/cgi/viewcontent.cgi?article=1031&context=eilr-recent-developments.
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Plaintiffs); there is an alternative means of securing the information at issue, namely the existing
discovery and public records; and, importantly, failing to proceed under the Hague Convention
would undermine important interests of China, where the information is located, especially
considering specific civil procedure and data transfer laws enacted in China. See e.g., Sun Grp.
U.S.A. Harmony City, Inc., 2019 WL 6134958, at *2–*3 (considering various factors to guide the
analysis of whether application of the Hague Convention is warranted).

        Clearly, Plaintiffs are attempting to have a second chance at obtaining confidential and
sensitive financial and business records after the Court denied part of Plaintiffs’ prior motion to
compel. Thus, Plaintiffs should have proceeded through the Hague Convention channels prior to
seeking the requested evidence located in China. This notwithstanding, and despite specific
prohibitions on cross-border transfers of data, 35.CN has already started the process for obtaining
approval for responding to Plaintiffs’ discovery requests, as outlined below.

C.       Recent Chinese Law Restricts Cross-Border Transfers of Data

        In addition to general restrictions on international discovery, recent Chinese data security
and privacy laws prohibit 35.CN from producing materials in response to Plaintiffs’ requests,
especially given the sovereign interests at stake related to being a public Chinese company (as
well as in light of the Chinese government oral inquiries to 35.CN).

        For context, international restrictions on cross-border transfers have heightened in the last
couple of years, especially with transfers of various kinds of information to the U.S. In particular,
the Chinese Data Security Law (“DSL”), Cybersecurity Law, and Personal Information Protection
Law (“PIPL”) create a framework for when data can be transferred from China to other countries.9
These laws and their strict requirements and potential penalties are consistent with other recent
international laws restricting cross-border transfers of data10 as well as Chinese laws relating to
data security and privacy policies for Chinese companies,11 legislation prohibiting transfers of
sensitive information, and even prior Chinese court hesitancy to recognize U.S. court orders.

        Specifically, the DSL, effective since September 2021, restricts transfers of different
categories of data, namely state data, important data, and general data.12 We understand that
information is broadly covered under these vague definitions, including corporate information,
contract and financial data, data concerning security and public interests, and even public
information stored within the territory of China. For example, Article 36 of the DSL stipulates that
entities and individuals shall not provide data stored within the territory of China to foreign legal
and judicial bodies without Chinese agencies’ prior approval. This Article 36 is written in an
absolute manner such that even the owner of the information, which could be public or private, is
9 Sheng, Jenny (Jia) et al., China Adopts New Data Security Law (Accessed on Mar. 28, 2022), available at

https://www.pillsburylaw.com/en/news-and-insights/china-adopts-new-data-security-law.html.
10 Braun, Martin et al., The French Data Protection Authority Joins the Austrian Protection Authority in Ruling that the

Use of Google Analytics Violates the GDPR (Feb. 16, 2022), available at https://www.jdsupra.com/legalnews/the-
french-data-protection-authority-2677478/.
11 Zhu, Julie et al., China to Ban Online Brokers From Offering Offshore Trading to Mainland Clients (Dec. 17, 2021),

available at https://www.nasdaq.com/articles/exclusive-china-to-ban-online-brokers-from-offering-offshore-trading-to-
mainland-clients-0; Horwitz et al., Explainer: What is Driving China’s Clampdown on Didi and Data Security (July 7,
2021), available at https://www.reuters.com/technology/what-is-driving-chinas-clampdown-didi-data-security-2021-07-
07/.
12 DigiChina, Data Security Law of the People’s Republic of China (June 29, 2021), available at

https://digichina.stanford.edu/work/translation-data-security-law-of-the-peoples-republic-of-china/.
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prohibited from providing such information. Covered data under the DSL is also broad and
includes digital and other records. This lends support for the Chinese government exercising
control and sovereignty. Thus, the question is not whether Plaintiffs in the U.S. think the law is
reasonable but whether the Chinese government has enacted a legal requirement covering
35.CN, a Chinese corporation. Violators of the DSL may be subject to fines of up to over $1.5
million, suspension or revocation of business licenses, and even criminal liability.

        In addition, the PIPL, effective November 2021, protects the rights and interests of
personal information and regulates personal information processing activities. The law includes
provisions requiring any cross-border data transfers to be submitted first to the CAC, the relevant
regulatory body, and provides for fines ranging up to $7.7 million or up to 5% of a company’s
previous year’s business revenue.13

        Further, established Chinese law imposes very strict limitations on disclosure of
information related to Chinese “state secrets,” which is thought of broadly and is vaguely defined,
including any matters relating to national interests in the areas of economy and diplomacy. See
Moncure, David, The Conflict Between United States Discovery Rules and the Laws of China:
The Risks Have Become Realities, The Sedona Conference Journal, Vol. 16 (2015) (referring to
State Secrets Protection Law, effective Oct. 1, 2010).14 Under Chinese law, provision of covered
information to an overseas organization or individual, even if the level of secrecy is not clearly
outlined, is a crime. See also id. (citing Article 111 of the Criminal Law).

        This makes clear that Chinese data security and privacy laws prohibit 35.CN from
producing discovery in response to Plaintiffs’ requests without government approval; and
responding, without prior approval, to the bulk of Plaintiffs’ discovery requests would subject
35.CN to high monetary, civil, and even criminal penalties in China. Given the sensitive and
overbroad information that Plaintiffs seek, and the fact that Plaintiffs are demanding that a public
Chinese company provide this information to two of the world’s largest companies (under one
brand), which are banned in China, underscores how 35.CN must obtain government approval in
this case.

D.        35.CN’s Steps to Ensure Compliance with Legal Obligations; and Next Steps

       As outlined above, upon recently confirming its legal obligations under these Chinese
laws, 35.CN has been working diligently to seek approval from the appropriate Chinese authorities
to respond to the discovery in this case, including by:

     •    Providing this letter, which contains background and legal basis for the conflict in turning
          over broadly-requested documents and information without appropriate approval. We also
          propose discussing these issues with you on our call scheduled for March 30, 2022.
          Further, 35.CN still intends to produce documents not subject to prior government
          approval in the first production and then additional documents upon government approval.

13 Bryant, Jennifer, China’s PIPL Takes Effect, Compliance ‘A Challenge’ (Nov. 1, 2021), available at

https://iapp.org/news/a/chinas-pipl-takes-effect-compliance-a-challenge/.
14Moncure, David, The Conflict Between United States Discovery Rules and the Laws of China: The Risks Have

Become Realities, 16 Sedona Conf. Journal 283 (2015), available at
https://thesedonaconference.org/sites/default/files/publications/The%20Conflict%20Between%20US%20Discovery%
20Rules%20and%20the%20Laws%20of%20China.16TSCJ283.pdf.
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   •    Obtaining advice from counsel. While the content of this advice is privileged, we note that
        35.CN has not only reviewed these issues with our firm and Chinese translation counsel
        but also with in-house and outside local counsel in China familiar with these issues.
   •    Working with local regulators on a possible solution, including by having discussions with
        the CAC and determining whether the CAC will issue a statement in writing.

        If Plaintiffs consent to proceeding under the Hague Convention and obtaining the requisite
Chinese government approval, we propose filing a joint case management statement with the
Court, which would request a further case management conference if helpful. However, if Plaintiffs
decline to consent to such procedures, 35.CN suggests filing a joint letter to the Court on these
issues and seeking leave for additional briefing, including to attach legal experts to explain the
foreign legal requirements and potential drastic penalties for noncompliance with Chinese laws.

        This letter does not constitute a complete or exhaustive statement of all of our clients’
rights or defenses in this matter, all of which are expressly reserved.

      If you have any questions, you may reach me at 415-955-1155, ext. 114, or at
karl@krinternetlaw.com.

Sincerely,

KRONENBERGER ROSENFELD, LLP



Karl S. Kronenberger

cc: Other Counsel of Record
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                        Exhibit B
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From:            Karl Kronenberger
To:              Steele, David J.; Leah Vulic; Kroll, Howard A.; Sindelar, Jeffrey C.; Guye, Helena M.;
                 ashok.ramani@davispolk.com; micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic;
                 Lauridsen, Steven E.; Ruben Peña; paralegals; Jeff Rosenfeld; Liana Chen
Subject:         RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN"s Objections and Responses to Plaintiffs"
                 First Sets of Requests for Admission and Interrogatories
Date:            Saturday, May 21, 2022 4:38:43 PM
Attachments:     image001.png
                 image002.png
                 image003.png


Hi David,

We are moving forward with edits to the stipulation. However, as you know, we have started a
rolling production. We area also reviewing additional documents now, which will be produced.

We are trying to narrow the dispute down as much as possible, by potential eliminating some legal
grounds mentioned in our prior letter to you. I will try to turn to further edits to your draft stip
tomorrow. To reiterate, we have agreed on submitting a stipulation on this discovery dispute, and
we will get you our edits ASAP.

Very best,

Karl


From: Steele, David J. <David.Steele@tuckerellis.com>
Sent: Saturday, May 21, 2022 8:31 AM
To: Karl Kronenberger <karl@krinternetlaw.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>;
Guye, Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic
<pjn@lexanalytica.com>; Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>; Jeff Rosenfeld
<jeff@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Karl,

We have been extremely patient and accommodating with you on this. However, we must insist that
you provide your edits to the stipulation. If we do not receive them promptly, we will simply move
the court (noting the efforts we’ve taken to date and the delay).

Also, given your comments below regarding your edits to the stipulation, I am mindful (as I’m sure
you are as well) that the stipulation should not contain the substantive arguments you intend to
advance in opposition to our motion, but rather the reasoning for why full briefing is required.

David
       Case 3:19-cv-07071-SI           Document 239-1    Filed 05/26/22       Page 14 of 23




From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Tuesday, May 17, 2022 4:02 PM
To: Steele, David J. <David.Steele@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>;
Guye, Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic
<pjn@lexanalytica.com>; Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>; Jeff Rosenfeld
<jeff@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

<<< EXTERNAL EMAIL >>>




Hi David,

We do not know at this point whether we will be withdrawing these objections, as we just received
documents early this morning (in Chinese). However, we have started making edits to your
document regarding our motion for a protective order, and your proposed motion to compel. We
don’t want to waste any time here, in the event we do not withdraw our objections.

We will be in touch about our edits.

Just so you know, a significant part of our arguments involve the two new Chinese laws passed in
late 2021 (Data Disclosure Law and Personal Information Law), and not just the Hague Convention.
But, we are explaining this in the proposed stipulation.

Very best,

Karl


From: Steele, David J. <David.Steele@tuckerellis.com>
Sent: Tuesday, May 17, 2022 11:29 AM
To: Karl Kronenberger <karl@krinternetlaw.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>;
Guye, Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>; Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Ruben Peña
        Case 3:19-cv-07071-SI        Document 239-1          Filed 05/26/22       Page 15 of 23


<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>; Jeff Rosenfeld
<jeff@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Karl,

Please confirm whether 35.CN is withdrawing all objections based on Chinese law, and please also
confirm whether 35.CN is withdrawing all objections based on service not via the Hague Convention.

If 35.CN is not withdrawing these objections, then we need to move forward with our motion to
compel as we discussed during our meet and confer conference (three weeks ago). We have
attached a draft stipulation (also as discussed during our conference) for leave to file a regularly
noticed motion to compel. Please advise whether the stipulation is ok, or whether we need to file a
motion.

David




From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Monday, May 16, 2022 3:15 PM
To: Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Steele, David J.
<David.Steele@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll, Howard A.
<Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye,
Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

<<< EXTERNAL EMAIL >>>



Hello Steven,

Now that we are past the Chinese holiday, and now that I am back from my conference, I just got
word early this morning that the Chinese government has approved a tranche of documents for
35.CN to provide to our firm, for review and production. We will keep you informed on the timetable
of production, as well as any amendments to written discovery responses as a result of reviewing
these documents.
       Case 3:19-cv-07071-SI       Document 239-1         Filed 05/26/22      Page 16 of 23



We respectively disagree with your characterizations below.

Very best regards,

Karl


From: Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>
Sent: Friday, May 13, 2022 5:55 PM
To: Karl Kronenberger <karl@krinternetlaw.com>; Steele, David J. <David.Steele@tuckerellis.com>;
Leah Vulic <leah@krinternetlaw.com>; Kroll, Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar,
Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye, Helena M. <Helena.Guye@tuckerellis.com>;
ashok.ramani@davispolk.com; micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J.
Narancic' <pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Hi Karl,
            You indicated in your email below that by May 13 you would obtain final confirmation
as to whether your client would be able to produce all documents and respond fully to
discovery. We are following up as to the status of that confirmation, for it is past the close of
business without us having received an update. Also, unless 35.CN is in a position to make a
full production today, we believe the parties should prepare a joint stipulation to file with the
Court—as you proposed in your March 30, 2022, letter—next week seeking leave for
Plaintiffs to file a regularly noticed motion to compel so that the parties may address the issue
of how Chinese law impacts 35.CN’s discovery obligations. We will provide you a draft
stipulation shortly.
          We would also like to address the points you raised in your email so Plaintiffs’ positions
are clear. While you have repeatedly stated that it is your intent to produce documents and that
you and your client are not refusing to produce documents, we cannot help but be concerned
by your client’s delays and meritless objections given the lengthy history of discovery abuses
in this case by Defendants, who—as you know—are alter egos of one another. While we are
trying to be reasonable, we are also gravely concerned your client is engaging in delay tactics
and that a motion to compel is inevitable. As explained during our Zoom meeting, we do not
want to delay too long only then to have to explain why we delayed several months before
informing the Court of these issues given Defendants’ extensive discovery misconduct in this
case to date. Moreover, the Court ordered the parties to conduct discovery in mid-January, and
we therefore do not think it appropriate to continue to delay without informing the Court of
these issues. The bullet points from your email are addressed below in red.
        35.CN has not stated that it will not produce documents. In fact, as their counsel, I
        have advocated for a full production; You keep repeating this; however, your client
        has also consistently failed to make meaningful document productions. This case has
        been pending for over thirty months. Your client has been a party for over eight
        months. We served discovery requests in February, and after we agreed to an
        extension, you served us with meritless objections and a very limited set of
        documents on April 1, 2022. To date, a month later, your client still only has
        produced a handful of unrelated public documents, none of which address the alter
        ego issues that the Court has now twice stated require further discovery.
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 However, as you know, Chinese regulators have explicitly forbade 35.CN from
 disclosing documents to Facebook, which is a banned company in China; We do not
 know this. You told us that you think Chinese law is a “distraction” in this case and
 that Chinese regulators made verbal, “snide” comments to someone at 35.CN saying
 not to give Facebook any documents because it is a “banned” company. You have not
 produced any writing from the Chinese government substantiating these claims and
 have admitted this “probably won’t happen.” In our letter to you dated April 20,
 2022, we directed you to authorities (including authorities you relied on in your letter
 dated March 30, 2022) explaining that Chinese companies often make
 misrepresentations about such restrictions to avoid their U.S. litigation obligations
 and that U.S. Courts hold Chinese parties accountable for failing to meet their
 discovery obligations. See, e.g., Wultz v. Bank of China Ltd., 942 F. Supp. 2d 452, 468
 (S.D.N.Y. 2013) (noting Bank of China’s selective disclosure of information to suit its
 interests while otherwise asserting unsubstantiated claims regarding restrictions
 imposed by Chinese law). Moreover, it has now been over two weeks since you
 informed us that you received a significant opinion from 35.CN’s Chinese counsel.
 You indicated that you expected a translation of that opinion soon. Have you received
 the translation of the opinion yet, and if so, are you planning to share the translation
 or how it affects the position 35.CN is taking with regard to its discovery obligations?
 Despite the instructions from the Chinese regulator and the fairly recent Chinese law
 that prohibits disclosure of information like the information Facebook is seeking in
 its discovery requests, I am personally hopeful that we will be able to develop a
 workaround to this problem; You have not established that there is any Chinese law
 prohibiting your client from meeting its discovery obligations. You admit there is no
 official communication from the Chinese government substantiating your claims and
 that none is forthcoming. The laws you cite contain only vague definitions as to what
 type of information is covered. As we have stated, this litigation is proceeding before a
 United States District Court, and United States law applies. Discovery is governed by
 the Federal Rules of Civil Procedure, and the Court has now twice ordered the parties
 to move forward with discovery (after denying 35.CN’s motion to dismiss and motion
 to bifurcate). It was only after the Court denied 35.CN’s two motions—both times
 ordering us to move forward with discovery—that your client suddenly decided to
 raise these new objections based on purported Chinese legal obligations. While we
 appreciate that you are personally hopeful you will be able to develop a “workaround”
 for the legal obligations you simultaneously claim prevent your client from meeting
 its discovery obligations, until we actually receive all responsive documents, you and
 your client have not met your discovery obligations in this lawsuit, and we intend to
 hold you to them. Your client’s employees already engaged in mass spoliation of
 evidence for which the OnlineNIC Defendants now are facing terminating sanctions.
 Now your client is raising vague, unsubstantiated arguments as to why it cannot fulfil
 its own discovery obligations. Given the significant delays in this case caused by your
 client’s flouting the authority of U.S. Courts, we cannot help but suspect your client is
 engaging in further gamesmanship here.
 While we are working through this problem, I have instructed my client to continue
 with the process of searching and collecting documents that are responsive to
 Facebook’s discovery requests, and, as I stated on the phone, 35.CN has completed
 most of this searching and collection; We know this is what you have claimed;
 however, until you actually produce these documents, Plaintiffs are in no better
 position, and you are not in compliance with the Federal Rules and this Court’s
 express orders.
 I propose that 35.CN begin a rolling production of all of its public documents on May
 20 (due to their holiday), with an expected completion date of on or before June 3
 (this will supplement the prior productions) This proposal will result in production
 over three months after your client was served with requests for production, and
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      based on experience in this lawsuit to date, we are concerned waiting this long will
      leave us in no better position with discovery than we are now.; and
      I also propose that you give 35.CN until May 13 to obtain final confirmations about
      whether it can produce all documents and respond fully to discovery, and if it cannot,
      that we agree to a schedule to brief this matter fully for the Court in a joint discovery
      letter for a protective order and Facebook’s claims to compel. We have given 35.CN
      until May 13 to obtain final confirmations as to whether it can respond fully to
      discovery. Unless 35.CN is able to make a full production today, we believe the parties
      should prepare a joint statement to file with the Court on these issues, seeking leave
      for further briefing and exhibits, as you proposed in your March 30, 2022, letter. If
      your client fully meets its discovery obligations (including production of both public
      and private documents) by June 3, 2022, or before the Court rules on the joint
      statement or any subsequent briefing, the parties can notify the Court that the issue
      has been resolved. We appreciate your representations that you hope and intend to
      comply with your discovery obligations; however, you have not provided us any
      material support for your position that your client will comply with Court-ordered
      discovery absent further Court intervention.

    We will begin preparing our portion of the joint statement and ask that you do the same,
with a goal of filing with the Court by next Friday, May 20. Please let me know if you would
like to discuss these matters further.

Best,
Steven


From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Thursday, April 28, 2022 5:15 PM
To: Steele, David J. <David.Steele@tuckerellis.com>; Lauridsen, Steven E.
<Steven.Lauridsen@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll, Howard A.
<Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye,
Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

<<< EXTERNAL EMAIL >>>



Hi Steven and Others,

Just today, I received a significant opinion from 35.CN’s Chinese counsel. The opinion was in Chinese,
and I immediately sought a translation of the document. Unfortunately, I do not have the
translation, but I expect to get it soon. I believe this opinion will be very influential to the position
our firm will take in court on our case.
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Even though I do not have that English translation yet, I can make the following clarifications:

        35.CN has not stated that it will not produce documents. In fact, as their counsel, I have
        advocated for a full production;
        However, as you know, Chinese regulators have explicitly forbade 35.CN from disclosing
        documents to Facebook, which is a banned company in China;
        Despite the instructions from the Chinese regulator and the fairly recent Chinese law that
        prohibits disclosure of information like the information Facebook is seeking in its discovery
        requests, I am personally hopeful that we will be able to develop a workaround to this
        problem;
        While we are working through this problem, I have instructed my client to continue with the
        process of searching and collecting documents that are responsive to Facebook’s discovery
        requests, and, as I stated on the phone, 35.CN has completed most of this searching and
        collection;
        I propose that 35.CN begin a rolling production of all of its public documents on May 20 (due
        to their holiday), with an expected completion date of on or before June 3 (this will
        supplement the prior productions); and
        I also propose that you give 35.CN until May 13 to obtain final confirmations about whether it
        can produce all documents and respond fully to discovery, and if it cannot, that we agree to a
        schedule to brief this matter fully for the Court in a joint discovery letter for a protective order
        and Facebook’s claims to compel.

I look forward to hearing back from you on our proposal. Also, if my proposal changes due to the
legal opinion we recently received, I will let you know right away.

Very best,

Karl



From: Karl Kronenberger
Sent: Friday, April 22, 2022 2:36 PM
To: Steele, David J. <David.Steele@tuckerellis.com>; Lauridsen, Steven E.
<Steven.Lauridsen@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll, Howard A.
<Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye,
Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Hi David,
        Case 3:19-cv-07071-SI         Document 239-1           Filed 05/26/22        Page 20 of 23


What is your availability on Wednesday, any time after 1:30? I am tied up with depo prep and a
deposition Monday and Tuesday. More importantly, we are waiting to hear back from our client
regarding a way to produce/respond in a quicker manner, considering Chinese law.

Importantly, we have never stated that our clients would not produce documents or otherwise
respond to discovery. The problem is that the new Chinese laws (from late 2021) are causing delays.

Sincerely,

Karl

From: Steele, David J. <David.Steele@tuckerellis.com>
Sent: Friday, April 22, 2022 2:20 PM
To: Karl Kronenberger <karl@krinternetlaw.com>; Lauridsen, Steven E.
<Steven.Lauridsen@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll, Howard A.
<Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye,
Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Karl,

We didn’t hear back from you yesterday. Please let us know when you can meet with us regarding
Plaintiffs’ discovery.


David Steele | Partner | Tucker Ellis LLP
515 South Flower Street | Forty-Second Floor| Los Angeles, CA 90071
Direct: 213-430-3360
david.steele@tuckerellis.com

This e-mail is sent by the law firm of Tucker Ellis LLP and may contain information that is privileged or
confidential. If you are not the intended recipient, please delete the e-mail and notify us immediately by
return email.




From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Wednesday, April 20, 2022 3:41 PM
To: Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Leah Vulic
<leah@krinternetlaw.com>; Steele, David J. <David.Steele@tuckerellis.com>; Kroll, Howard A.
<Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye,
       Case 3:19-cv-07071-SI         Document 239-1          Filed 05/26/22       Page 21 of 23


Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

<<< EXTERNAL EMAIL >>>



Hello David,

We expect to get some feedback tomorrow from Chinese counsel, so we will respond to you
tomorrow about scheduling a call.

Very best,

Karl


From: Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>
Sent: Wednesday, April 20, 2022 2:29 PM
To: Karl Kronenberger <karl@krinternetlaw.com>; Leah Vulic <leah@krinternetlaw.com>; Steele,
David J. <David.Steele@tuckerellis.com>; Kroll, Howard A. <Howard.Kroll@tuckerellis.com>;
Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye, Helena M.
<Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com; micah.block@davispolk.com;
cristina.rincon@davispolk.com; 'Perry J. Narancic' <pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Counsel:

Please see the attached letter sent on behalf of David Steele. As you will see in the letter, we believe
this is a discovery dispute subject to the federal and local rules.

Best regards,

Steven E. Lauridsen | Attorney | Tucker Ellis LLP
515 South Flower Street, Forty-Second Floor| Los Angeles, CA 90071
Direct: 213-430-3308 | Fax: 213-430-3409
steven.lauridsen@tuckerellis.com
tuckerellis.com
       Case 3:19-cv-07071-SI          Document 239-1            Filed 05/26/22        Page 22 of 23


From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Monday, April 18, 2022 4:50 PM
To: Leah Vulic <leah@krinternetlaw.com>; Steele, David J. <David.Steele@tuckerellis.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Lauridsen, Steven E.
<Steven.Lauridsen@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>; Guye,
Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Liana Chen <liana@krinternetlaw.com>; Jeff Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>
Subject: RE: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and
Responses to Plaintiffs' First Sets of Requests for Admission and Interrogatories

<<< EXTERNAL EMAIL >>>



Hello Counsel,

We want to follow up on our request to schedule a further CMC, regarding Chinese law and the
discovery requests Plaintiffs have propounded. Please let us know. We also think it makes sense to
prepare a joint report with a discovery plan under Rule 26(f)(2), including to outline the issues that
were raised at, and since, the Rule 26(f) conference.

Will Plaintiffs stipulate to a CMC, and separately will Plaintiffs like to prepare the first draft of the
joint report? If you will not stipulate to the CMC, can you let us know your availability for a call to
discuss?

Very best,

Karl


From: Leah Vulic <leah@krinternetlaw.com>
Sent: Monday, April 18, 2022 3:46 PM
To: david.steele@tuckerellis.com; howard.kroll@tuckerellis.com; steven.lauridsen@tuckerellis.com;
jeffrey.sindelar@tuckerellis.com; helena.guye@tuckerellis.com; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; 'Perry J. Narancic'
<pjn@lexanalytica.com>
Cc: Karl Kronenberger <karl@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>; Jeff
Rosenfeld <jeff@krinternetlaw.com>; Ruben Peña <ruben@krinternetlaw.com>; paralegals
<paralegals@krinternetlaw.com>
Subject: Facebook, Inc., et al. v. OnlineNIC Inc., et al. - Defendant 35.CN's Objections and Responses
to Plaintiffs' First Sets of Requests for Admission and Interrogatories

Dear Counsel,
      Case 3:19-cv-07071-SI                       Document 239-1                   Filed 05/26/22                Page 23 of 23


Attached please find:

     1. DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S OBJECTIONS
        AND RESPONSES TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES;
     2. DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S OBJECTIONS
        AND RESPONSES TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
        ADMISSION; and
     3. CERTIFICATE OF SERVICE.

If you have any difficulty accessing the attachments, please do not hesitate to contact me.

Best regards,
Leah
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